Case 2:13-cv-00346-MSD-RJK Document 159 Filed 10/01/14 Page 1 of 15 PageID# 6392



                         UNITED      STATES   DISTRICT COURT
                         EASTERN DISTRICT OF VIRGINIA
                                   Norfolk Division


  CERTUSVIEW TECHNOLOGIES,
  LLC,
              Plaintiff,
  v.                                                        Case   No.:   2:13cv346


  S&N LOCATING SERVICES,          LLC,
  and
  S&N COMMUNICATIONS,        INC.,
              Defendants.




                                   OPINION AND ORDER


         This matter is before the Court on two motions:                   {1)    a renewed

  motion filed by defendants S&N Locating Services,                        LLC,    and S&N

  Communications, Inc.        (collectively "Defendants" or "S&N") to limit

  the    number of     patent     claims    asserted against         them,       and    (2)   a

  cross-motion       filed   by      plaintiff     Certusview       Technologies,         LLC

  ("Plaintiff"    or    "Certusview")       to   limit the number of             invalidity

  arguments asserted by S&N.               After examining the briefs and the

  record,   the   Court determines          that     oral   argument      is unnecessary

  because the facts and legal contentions are adequately presented and

  oral argument would not aid in the decisional process.                     Fed. R. Civ.

  P. 78(b); E.D. Va. Loc. R. 7(J).               For the reasons set forth below,

  the Court GRANTS IN PART and DENIES IN PART both motions.


                     I. Factual and Procedural Background

         On May 29, 2013,       Certusview filed a complaint in this Court,

  alleging infringement by Defendants of four of its patents.                          ECF No.

  1.     On December 6,      2013,       Plaintiff    filed an amended complaint,
Case 2:13-cv-00346-MSD-RJK Document 159 Filed 10/01/14 Page 2 of 15 PageID# 6393



  alleging that Defendants had also infringed a fifth patent.                     ECF No.

  65.   Plaintiff subsequently identified "a total of 68 claims as

  allegedly being       infringed."      Defs.'s      Br.    Supp.      Mot.   to   Limit

  Asserted Claims at 3, ECF No. 65.           On March 3, 2014, Defendants filed

  a motion to limit the number of asserted claims "to a                    total of 32

  before    claim    construction"      and    "a    total   of    10"    after     claim

  construction, Defs.' Mot. to Limit Asserted Claims at 2, ECF No. 64,

  asserting that the current number of claims is "disproportionate to

  the corresponding limits the Court placed on claim construction,"

  Defs.'s Br. Supp. Mot. to Limit Asserted Claims at 3, ECF No. 65.

  Plaintiff filed a brief opposing Defendants' motion on March 17,

  2014, asserting that Plaintiff cannot "reasonably limit the number

  of claims" because it has yet to receive "sufficient discovery [from

  Defendants]       concerning    the   accused      product      and    [Defendants']

  positions on infringement and validity."              PI. 's Br. in Opp'n at 1-2,

  ECF No.    77.


        On March 19, 2014, the Court denied Defendants' motion to limit

  the number of asserted patent claims.                The Court recognized its

  inherent authority to reasonably limit the number of patent claims

  Certusview may assert.          March 19, 2014 Order at 3,               ECF No.    86.

  However,    the Court concluded that it would have been premature to

  limit Certusview's claims at the time of S&N's first motion to limit

  claims because of discovery disputes with respect to claims and

  defenses.        Id. at   5.   Nonetheless,       the Court specifically noted
Case 2:13-cv-00346-MSD-RJK Document 159 Filed 10/01/14 Page 3 of 15 PageID# 6394



  Certusview's "willing [ness] to reasonably limit the number of claims

  being asserted at the appropriate time"                       and underscored that the

  Court fully expected Certusview to do so.                     Id.       The Court stated that

  it    would    "gladly entertain a              renewed motion            by Defendants"        if

  Plaintiff failed to "adequately limit its claims within a timely

  manner       after    receiving        the    relevant      discovery        to   which   it    is

  entitled."           Id.   at   5-6.     Additionally,            the     Court   reminded     the

  parties that they had "ethical obligations to work together,                                 in a

  professional manner, to prepare this case for trial" and emphasized

  that " [i]f the parties fail to do so, the Court will not hesitate

  to impose appropriate sanctions."                     Id. at 6.

         On April 1, 2014,          the Court conducted a Markman hearing.                       On

  May 16, 2014, the Court issued an Opinion and Order construing ten

  disputed claim terms.             ECF No. 121.

         On August 28, 2014, S&N renewed their motion seeking to limit

  the number of patent claims that Certusview could assert.                                 Defs.'

  Renewed Mot. to Limit Asserted Claims, ECF No. 140.                               In support of

  their Renewed Motion, Defendants argue that it is now the appropriate

  time to limit the number of claims that Certusview can assert against

  S&N    because        Certusview        has    received       sufficient          discovery     to

  reasonably know which claims to assert.                       Defs.' Br. Supp. Renewed

  Mot.    to    Limit    Asserted    Claims       at    2,   ECF.     No.    141.    Defendants'

  emphasize        that       Certusview          has        received:         non-infringement

  contentions on April 25; detailed invalidity contentions on April
Case 2:13-cv-00346-MSD-RJK Document 159 Filed 10/01/14 Page 4 of 15 PageID# 6395



  29;   "access    to    source   code    for    the   accused     system;"     "a   live

  demonstration of the accused system;" an additional 18,000 documents

  produced on July 11; and "all requested witnesses in July and August."

  Id.   Defendants further contend that limiting the number of claims

  Certusview      may    assert   is     appropriate      because     "four     of    the

  Patents-in-Suit are related," "there is significant overlap between

  all of the asserted patents and claims," and "Certusview has only

  accused   one    instrumentality of           infringement."       Id.   at   5.     In

  addition, Defendants argue that the Court should not require them

  to limit the number of arguments they can make on invalidity, much

  less require them to do so "as a condition for the patent holder to

  limit the number of asserted claims."                Id. at 3.    S&N request that

  the Court: "immediately reduce the total number of asserted patent

  claims to no more than a total of 10;" "allow S&N to serve an amended

  opening invalidity expert report within thirty days of receiving

  Certusview's reduced list of claims,-" and enter sanctions against

  Certusview.      Id.   at 6.


         On September 11,         2014,    Certusview filed its response               to

  Defendants' motion and a cross-motion seeking to limit the number

  of invalidity arguments that S&N could assert.              Pi. 's Resp. to Defs.'

  Renewed Mot. to Limit Number of Asserted Claims & Cross-mot. to Limit

  Number of Invalidity Arguments,           ECF. No. 151.          Certusview states

  that it conferred with S&N in an attempt to reach an agreement that

  would limit both the number of claims Certusview could assert and
Case 2:13-cv-00346-MSD-RJK Document 159 Filed 10/01/14 Page 5 of 15 PageID# 6396



  the prior art invalidity references S&N could assert, but failed to

  reach any agreement.         Id. at 1-2.           On July 28,       2014,    Certusview

  proposed limiting the number of its claims to thirty, if S&N would

  agree to narrow the asserted prior art to ten references.                        Id. Ex.

  B. at 1.    In response, on August 2, 2014, S&N offered to limit their

  number of prior art references to twenty five, if Certusview would

  limit its number of claims to fifteen.                 See id. Ex. C at 2 .    On August

  6, 2014, Certusview countered by offering to limit the number of its

  asserted claims      to    twenty,      if     S&N would     limit   their prior art

  references to two grounds of invalidity per claim.                     Id. Ex. D at 1.

  The forgoing attempts to resolve the issues the parties have raised

  in the instant motions did not succeed.


          In opposition to S&N's motion, Certusview contends that it is

  too early for Certusview to reasonably limit the number of claims

  it will assert because Certusview has not had "sufficient discovery

  concerning the accused product and S&N's positions on infringement

  and validity."      Id. at 5.     Certusview emphasizes that fact discovery

  will not close until October 10, 2014, expert discovery will not close

  until    October   31,    2014,   and     it    will   not   have   S&N's    rebuttal   to

  Certusview's infringement expert report until September 30, 2014.

  Id.     Additionally, Certusview contends that the number of patents

  involved    in   this    case,    five,        renders   twenty     asserted   claims    a

  reasonable    limitation on Certusview.                Id.


          In support of its cross-motion to limit the number of prior art
Case 2:13-cv-00346-MSD-RJK Document 159 Filed 10/01/14 Page 6 of 15 PageID# 6397



  references that S&N can assert, Certusview argues that the Court has

  the authority to limit the number of prior art references or arguments

  S&N can raise for the same reasons that the Court can limit the number


  of claims Certusview can assert.       Id. at 1.    Furthermore, Certusview

  asserts that Defendants have already limited the number of prior art

  invalidity grounds they can raise to ten because Defendants have

  served an expert report offering only ten prior art invalidity

  grounds.     Id.     Certusview requests that the Court deny S&N's motion

  "without prejudice to refilling [sic] after S&N has participated in

  a good faith effort to reach a negotiated resolution of the issues

  presented."        Id. at 6   (emphasis omitted).      In the   alternative,

  Certusview asks that the Court limit "the number of asserted claims


  of the five asserted patents to twenty, to be elected by CertusView

  on or before October 10th" and confirm "that S&N is limited to the


  ten prior art invalidity theories in its invalidity expert report."

  Id.


         In   reply,    Defendants   assert   that   Certusview has   obtained

  sufficient discovery to allow it to make an informed decision about

  which claims to pursue because "most courts limit the number of

  asserted claims before opening expert reports are due."               Defs.'

  Reply Br. Supp. Renewed Mot. to Limit Asserted Claims at 3, ECF. No.

  154.    Defendants further argue that, if the Court limits the number

  of prior art references they can assert,             it should do   so after

  Certusview has       reduced its   number of asserted claims because S&N
Case 2:13-cv-00346-MSD-RJK Document 159 Filed 10/01/14 Page 7 of 15 PageID# 6398



  cannot fairly limit its prior art references without knowing which

  claims are actually at issue.        Id.       S&N's Reply reiterates S&N's

  contention that the Court should limit Certusview to ten claims.               In


  S&N's view, this limitation is justified because "four of the five

  Patents-in-Suit     are    related       and     share     nearly   identical

  specifications and similar claim language,"              "at least one of the

  Patents-in-Suit contains a terminal disclaimer," and "Certusview has

  only accused one     instrumentality of         infringement."      Id.   at   7.

  Finally, in support of their request for sanctions, Defendants accuse

  Certusview of "willful conduct" in unjustifiably delaying reducing

  its number of claims.      Id.   at 8.

                                II.   DISCUSSION


         A. Renewed Motion to Limit Number of Asserted Claims

        "A district court has inherent authority to reasonably limit

  . . . the number of patent claims the parties may assert, lto control

  the dispositions of the causes on its docket with economy of time

  and effort for itself, for counsel, and for litigants.'"                  Masimo

  Corp. v. Philips Elecs. N. Am. Corp., 918 F. Supp. 2d 277, 282 (D.

  Del. 2013) (internal citations omitted)           (quoting Landis v. N. Am.

  Co. , 299 U.S. 248, 254-55 (1936)); see also Thought, Inc. v. Oracle

  Corp., Case No. 12-CV-05601, 2013 U.S. Dist. LEXIS 147561, at *4-5

  (N.D. Cal. Oct. 10, 2013); Gen-Probe Inc. v. Beckton Dickinson & Co. ,

  Case No. 09-CV-2319, 2012 U.S. Dist. LEXIS 21744,at *6-7 (S.D. Cal.

  Feb. 22, 2012); cf., e.g., Unwired Planet LLC v. Google, Inc., Case
Case 2:13-cv-00346-MSD-RJK Document 159 Filed 10/01/14 Page 8 of 15 PageID# 6399



  No. 3:12-cv-0504,    2013 U.S. Dist. LEXIS 146766, at *2,*5 (D. Nev.

  Oct. 10, 2013)(ordering plaintiff to reduce number of claims from

  124 to 30) ; Classen Immunotherapies, Inc. v. Biogen Idee, Civil No.

  WDQ-04-2607, 2013 U.S. Dist. LEXIS 24836, at *9, *11-12 (D. Md. Feb.

  22, 2013)   (ordering plaintiff to reduce number of claims from 229

  to 30); Unified Messaging Solutions LLC v. Facebook Inc., Case No.

  6:llcvl20, 2012 WL 11606516, at *1 (E.D. Tex. July 12, 2012) (ordering

  plaintiff to reduce number of claims from 52 to 15 at the time of

  its expert report on infringement).

        Indeed, the Federal Circuit has held that a district court may

  limit the number of patent claims a plaintiff may assert without

  depriving the plaintiff of due process of law as long as the court

  provides the plaintiff with the ability to assert additional claims

  upon a showing of good cause.         See In re Katz Interactive Call

  Processing Patent Litig., 639 F.3d 1303, 1312 (Fed. Cir. 2011); see

  also Stamps.com Inc. v. Endicia, Inc. , 437 F. App'x 897, 900-03 (Fed.

  Cir. 2011) (limiting claims from 629 to 15); Gen-Probe, 2012 U.S.

  Dist. LEXIS 21744, at *6-7.     According to the Federal Circuit, "When

  the claimant is in the best position to narrow the dispute, allocating

  the   production     burden    to   the   claimant    will    benefit    the

  decision-making process and therefore will not offend due process

  unless the burden allocation unfairly prejudices the claimant's

  opportunity to present its claim."        In re Katz, 639 F.3d at 1311.

        To avoid unfair prejudice after requiring the plaintiff to limit


                                        8
Case 2:13-cv-00346-MSD-RJK Document 159 Filed 10/01/14 Page 9 of 15 PageID# 6400



  its claims, a district court must provide the plaintiff with the

  opportunity to assert additional, unselected claims that present

  unique issues of        liability or damages.          See id.     at   1312-13.      In

  addition,     the court should consider whether the plaintiff will be

  prejudiced by a claim selection order that "comes too early in the

  discovery     process,     denying    the     plaintiff      the   opportunity        to

  determine whether particular claims might raise separate issues of

  infringement or      invalidity in light of            the   defendants'        accused

  products and proposed defenses."              Id. at 1313 n.9.       Accordingly, a

  court may limit the number of patent claims a plaintiff may assert

  so long as it provides the plaintiff with the opportunity to assert

  additional     claims    upon   a   showing     of   good    cause      and    does   not

  prematurely require the plaintiff to limit its claims.                        See id. at

  1311-13   &   n.9.


        In this case, the parties do not dispute the appropriateness

  of limiting the number of claims that Certusview may assert at trial.1
  E.g., PL's Resp. to Defs.' Renewed Mot. to Limit Number of Asserted

  Claims & Cross-mot.        to Limit Number of Invalidity Arguments at 1

  ("Certusview has        not   refused    to    limit   the   number      of    asserted

  claims.")      (emphasis in original).            Rather,     Certusview and S&N

            To determine whether to require a plaintiff to limit its claims, courts
  consider whether the plaintiff asserts duplicative claims, the patents-in-suit
  share a common genealogy, and the patents contain terminal disclaimers. See In
  re Katz, 639 F.3d at 1311. Courts also "look to the number of patents and claims
  at issue and the feasibility of trying the claims to a jury." Thought, Inc., 2013
  U.S. Dist. LEXIS 147561, at *4.      In this case, the parties do not dispute that
  Certusview must limit its claims.     However, absent such a limitation, the number
  of claims Certusview has asserted, sixty eight, could not feasibly be placed before
  a jury.
Case 2:13-cv-00346-MSD-RJK Document 159 Filed 10/01/14 Page 10 of 15 PageID# 6401



  dispute the number of claims Certusview should be allowed to assert

  and the timing of when Certusview should be required to limit its

  claims.


        After careful consideration of            the parties'     arguments with

  respect to the number of claims Certusview should be allowed to

  assert,   the   Court   will    order   Certusview     to   select   FIFTEEN   (15)

  representative claims.          However,    the Court remains mindful of the

  need to adequately protect Certusview's due process rights because

  requiring Certusview to limit the number of claims it might assert

  could prevent Certusview from asserting viable,                  non-duplicative

  claims.     Therefore,     in    accordance     with   the    Federal   Circuit's

  decision in Katz, after selecting its claims pursuant to this Opinion

  and Order, Certusview may move the Court for leave to assert any

  unselected claims upon a showing of good cause.              If Certusview wishes

   to assert any claims in addition to the fifteen representative claims

   that it selects, Certusview must show that any unselected claim

   presents a unique issue with respect to liability or damages.

        The Court has also carefully considered the parties' arguments

   with respect to the timing of the claim selection order and the Court

   is satisfied that this case has reached a sufficient stage in the

   discovery process to allow Certusview to make an informed decision

   about which claims to pursue.          Unlike the situation at the time of

   Defendants'    first motion to limit asserted claims, Certusview has

   had substantial opportunity to obtain discovery regarding S&N's


                                             10
Case 2:13-cv-00346-MSD-RJK Document 159 Filed 10/01/14 Page 11 of 15 PageID# 6402



  invalidity and non-infringement contentions, including S&N's expert

  report on invalidity.          See, e.g., Havco Wood Prods., LLC v. Indus.

  Hardwood Prods., 10-cv-566, 2011 U.S. Dist. LEXIS 130757, at *15-18

  (W.D. Wise. Nov. 10, 2011) (ordering plaintiff to select claims prior

  to initial expert disclosure).            Moreover, at this stage, Certusview

  has also had the benefit of this Court's Markman Opinion since May

  16, 2014—more than four months ago.               Cf ., e.g. , Thought, Inc., 2013

  U.S. Dist. LEXIS 147561, at *12-13 (ordering plaintiff to select no

  more than 32 claims prior to claim construction and no more than 16

  claims within 28 days of the court's claim construction order).

  Accordingly, Certusview will make an election of FIFTEEN (15) claims

  within seven (7) days of the filing of this Opinion and Order.                      As

  stated     above,   this    Opinion and Order          is without    prejudice       to

  Certusview       requesting,     by     an    appropriate    motion,     to   assert

  additional claims upon a showing of good cause.

           In addition to their request to limit the number of claims

  Certusview may assert, Defendants, unopposed, also seek leave to

  amend their opening invalidity expert report.2                 "A schedule may be
  modified only for good cause and with the judge's consent."                        Fed.

   R. Civ. P. 16(b); see also Nourison Rug Corp. v. Parvizian, 535 F.3d

   295, 298 (4th Cir. 2008) .          "The good cause provision of Rule 16 (b) (4)

   does not focus on the prejudice to the non-movant or bad faith of

   the moving party, but rather on the moving party' s diligence. "              Reese

           2 Certusview's response to S&N's motion did not address S&N's request for
   leave   to amend S&N's    opening   invalidity expert   report.   See   ECF No.   151.
   Accordingly, Certusview has not opposed S&N's request for leave to amend.
                                               11
Case 2:13-cv-00346-MSD-RJK Document 159 Filed 10/01/14 Page 12 of 15 PageID# 6403



  v. Va. Intern. Terminals, Inc., 286 F.R.D. 282, 285 (E.D. Va. 2012)

   (quoting Lineras v. Inspiration Plumbing LLC,              No. I:10cv324, 2010

  U.S. Dist. LEXIS 117586,        at *2   (E.D. Va.    Nov.   3, 2010)).

          The Court finds good cause to GRANT S&N's unopposed request for

  leave to serve an amended opening invalidity expert report.                      In

  addition to filing their March 3, 2014 motion to limit claims, S&N

  acted with diligence in requesting that Certusview limit its claims

  on July 15 2014, well in advance of the September 1, 2014 deadline

  for filing opening expert reports.            See Defs.' Br. Supp. Renewed Mot.

  to     Limit Asserted Claims      Ex.   C.      In the   Court's Order denying

  Defendants'     first   motion    to    limit    asserted   claims,    the   Court

  expressly noted Certusview's "willingness to reasonably limit the

  number     of claims    being    asserted at      the    appropriate     time"   and

  emphasized that it "fully expects Plaintiff to do so."                   March 19,

  2014 Order at 5(emphasis in original).                   However,   despite this

  direction from the Court, Certusview failed to reasonably limit its

  claims prior to the deadline for S&N to file its opening invalidity

   expert report.    Thus, S&N's invalidity expert was forced to address

   all    sixty eight claims       that Certusview has          asserted because

   Certusview had failed to reasonably limit its claims.                    Fairness

   dictates that Defendants have the opportunity to file an amended

   opening invalidity expert report following Certusview's election of

   claims to allow S&N's expert to address the claims that are actually

   in dispute.    The resolution of this matter will also benefit from


                                           12
Case 2:13-cv-00346-MSD-RJK Document 159 Filed 10/01/14 Page 13 of 15 PageID# 6404



  S&N filing an expert report targeted at               the claims the parties

  actually intend to place before a jury.           Accordingly, the Court will

  GRANT S&N leave to file an amended opening invalidity expert report

  within twenty one (21) days after Certusview files its Election of

  Asserted Claims.3

      B. Cross-motion to Limit the Number of Invalidity Arguments

         Just as the Court has the inherent authority to limit the patent

  claims that a plaintiff may assert, the Court also has the authority

  to limit the number of invalidity arguments and prior art references

  that   defendants     may   assert.     E.g.,   MyMedical     Records,    Inc.   v.

  Walgreen Co. , Case No. 2:13-CV-00631, 2014 U.S. Dist. LEXIS 88289,

  at *1 (CD. Cal. June 27, 2014)         (citing In re Katz, 639 F.3dat 1313;

  Stamps.com, 437 F. App'x at 902-03)           (noting that a district court's

   case-management discretion "includes the ability to limit the number

   of claims asserted . . . and prior-art references to invalidate the

   patent."); cf., e.g., Thought, Inc., 2013 U.S. Dist. LEXIS 147561,

   at * 12 (limiting prior art references to 25) .          However, for the same

   reason that requiring a plaintiff to limit its claims might threaten

   a plaintiff's due process rights,            imposing a similar limit on a

   defendant's ability to raise prior art references as grounds for

   invalidity might prejudice a defendant's due process rights.                    See


         3 The Court notes that S&N also requested sanctions in its motion to limit
   asserted claim terms, though it is not clear upon what rule or authority S&N relied
   as the basis for those sanctions.   In light of the fact that the parties were in
   the process of negotiating competing limitation requests and because the Court
   has granted Defendants' request for leave to amend their opening invalidity expert
   report, the Court DENIES the motion with respect to sanctions.
                                           13
Case 2:13-cv-00346-MSD-RJK Document 159 Filed 10/01/14 Page 14 of 15 PageID# 6405



  MyMedical Records, Inc., 2014 U.S. Dist. LEXIS 88289, at *3 (citing

  In re Katz,    639   F.3d at   1310-12).       Therefore,   a    limitation on a

  defendant's ability to assert invalidity arguments must include an

  adequate means       for a   defendant    to   assert   additional     invalidity

  arguments upon a showing of good cause.             See id.

        The Court has carefully considered the parties' arguments with

  respect to limiting the number of prior art references that S&N may

  assert and the Court will order S&N to limit the number of prior art

  references they assert to TWENTY FIVE (2 5) within seven (7) days after

  Certusview files its election of claims.            However, the Court remains

  mindful of the need to adequately protect S&N's due process rights.

  Therefore, in accordance with the Federal Circuit' s decision in Katz,

  after selecting their prior art references pursuant to this Opinion

  and Order, S&N may move the Court for leave to assert any unselected

  prior art references upon a showing of good cause.

                                 III.   CONCLUSION


        For the reasons set forth above,          the Court GRANTS IN PART AND

  DENIES IN PART Defendants'        renewed motion to limit the number of

   asserted patent      claims   and GRANTS      IN   PART   AND   DENIES   IN   PART

   Plaintiff's    cross-motion     to    limit     the    number    of   invalidity

   arguments.    Certusview is DIRECTED to file an Election of Asserted

   Claims containing no more than FIFTEEN (15) claims within seven (7)

   days of the filing of this Opinion and Order.              S&N is DIRECTED to

   make an Election of Asserted Prior Art containing no more than TWENTY


                                           14
Case 2:13-cv-00346-MSD-RJK Document 159 Filed 10/01/14 Page 15 of 15 PageID# 6406



  FIVE (25) prior art references within seven (7) days after Certusview

  files its Election of Asserted Claims.                   As stated above, this Opinion

  and    Order       is    without     prejudice      to    either   Certusview       or   S&N

  requesting,        by an appropriate motion,             to assert additional claims

  or additional prior art references upon a showing of good cause.

          The Court GRANTS S&N's unopposed request for leave to serve an

  amended opening invalidity expert report.                     If Defendants choose to

  file an amended opening invalidity expert report,                      they must do so

  within twenty one (21) days after Certusview files its Election of

  Asserted       Claims.


          The    Court    DENIES     S&N's   motion   for sanctions.


          The Clerk is REQUESTED to send a copy of this Opinion and Order

  to    all    counsel     of   record.


          IT    IS   SO   ORDERED.




                                                                         /s
                                                                              finger
                                                                 Mark   S.    Davis
                                                       UNITED   STATES DISTRICT JUDGE




  Norfolk,       Virginia
  September -3> Q          , 2014




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